                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                                   5:12-cv-114-RLV
                               (5:05-cr-9-RLV-DCK-12)

ANTHONY TODD HALLMAN,               )
                                    )
                  Petitioner,       )
                                    )
Vs.                                 )                        ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                  Respondent.       )
___________________________________ )


       THIS MATTER is before the Court on Petitioner’s Motion to Vacate, Set Aside or

Correct Sentence under 28 U.S.C. § 2255, (Doc. No. 1), and on a Motion to Withdraw as

Attorney by Leah Kane of the Federal Defenders Office, (Doc. No. 3). Petitioner moves this

Court to vacate his conviction on the basis of the Fourth Circuit’s en banc decision in United

States v. Simmons, 649 F.3d 237 (4th Cir. 2011). Because Petitioner’s motion is untimely, the

Court will dismiss the motion to vacate.

       I.      BACKGROUND

       On October 12, 2005, Petitioner pled guilty pursuant to a written plea agreement to

conspiracy to possess with intent to distribute a quantity of cocaine and cocaine base, and

possession with intent to distribute a quantity of marijuana, in violation of 21 U.S.C. § 846.

(Crim. No. 5:05-cr-9, Doc. No. 347: Plea Agreement). On July 10, 2006, Petitioner was

sentenced to 292 months’ imprisonment, which was subsequently reduced to 240 months’

imprisonment. (Id., Doc. No. 591: Judgment; Doc. No. 1310: Order Granting Motion to Reduce

Sentence re Crack Cocaine Offense). Petitioner received a sentencing enhancement under 21

U.S.C. § 851 based on prior state court convictions.
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       Petitioner did not appeal. On August 7, 2012, Petitioner placed the instant motion to

vacate in the prison mail system, and the motion was stamp-filed in this Court on August 10,

2012. In the motion, Petitioner argues that none of his prior convictions qualified as felony

offenses for purposes of the Section 851 sentencing enhancement. Pursuant to Standing Order

by this Court, the Federal Defenders Office was assigned counsel for the purpose of determining

whether Petitioner is entitled to Simmons relief. On February 22, 2013, after conducting an

initial Simmons review, the Federal Defenders Office filed a motion to withdraw as counsel.

       II.     STANDARD OF REVIEW

       Rule 4(b) of the Rules Governing Section 2255 Proceedings provides that courts are to

promptly examine motions to vacate, along with “any attached exhibits and the record of prior

proceedings . . .” in order to determine whether the petitioner is entitled to any relief on the

claims set forth therein. After examining the record in this matter, the Court finds that the

argument presented by the Petitioner can be resolved without a response from the Government

and without an evidentiary hearing based on the record and governing case law. See Raines v.

United States, 423 F.2d 526, 529 (4th Cir. 1970).

       III.    DISCUSSION

       Paragraph 6 of 28 U.S.C. § 2255, which applies to initial motions to vacate, provides

generally for a one-year statute of limitations from the date on which a petitioner’s judgment

becomes final. 28 U.S.C. § 2255(f)(1). Here, Petitioner’s judgment became final when his time

for filing an appeal expired, or ten days after his guilty plea on October 12, 2005. Since

Petitioner did not file his Section 2255 motion to vacate until August 7, 2012, his motion is

therefore subject to dismissal as untimely under Section 2255(f)(1), and none of the other time

periods set forth under Section 2255(f) applies. Finally, even if the Court were to apply



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equitable tolling to Petitioner, he would still not be entitled to Simmons relief because he

received a sentence that was within the statutory maximum sentence allowed. See United States

v. Powell, 691 F.3d 554, 562 n.1 (4th Cir. 2012).

       IV.     CONCLUSION

       For the foregoing reasons, the Court dismisses Petitioner’s Section 2255 petition as

untimely.

       IT IS, THEREFORE, ORDERED that:

       1.      Petitioner’s Motion to Vacate, Set Aside or Correct Sentence under 28 U.S.C. §

               2255, (Doc. No. 1), is DENIED and DISMISSED as untimely.

       2.      The Motion to Withdraw as Counsel, (Doc. No. 3), is GRANTED.

       3.      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

               Governing Section 2254 and Section 2255 Cases, this Court declines to issue a

               certificate of appealability. See 28 U.S.C. § 2253(c)(2); Miller-El v. Cockrell,

               537 U.S. 322, 338 (2003) (in order to satisfy § 2253(c), a petitioner must

               demonstrate that reasonable jurists would find the district court’s assessment of

               the constitutional claims debatable or wrong); Slack v. McDaniel, 529 U.S. 473,

               484 (2000) (when relief is denied on procedural grounds, a petitioner must

               establish both that the dispositive procedural ruling is debatable and that the

               petition states a debatable claim of the denial of a constitutional right).


                                                                Signed: February 27, 2013




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